                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       CASE NO. 3:12-00137
                                                   )       JUDGE SHARP
MELISSA FAYE DEMPSEY                               )
                                                   )



                                           ORDER

         Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket

No. 58).

         The motion is GRANTED and a plea hearing in this matter is hereby scheduled for

Wednesday, January 30, 2013 at 1:30 p.m.

         It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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